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IN THE UNITED STATES DISTRlCT ` §§i"-E 5. *BURKE.

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FOR THE DISTRICT OF IDAHO

KOOTENAI TRIBE OF IDAHO; BOISE
COUNTY, IDAHO, by and through the Boise

County Board of Commissioners; VALLEY Case No. CVUl-lO-N-EJL
COUNTY, IDAHO by and through the Valley
Count Board of Comrnissioners; ORDER

BLU BBON COALITION, INC.; IDAHO
STATE SNOWMOBILE ASSOCIATION;
ILLINOIS ASSOCIATION OF
SNOWMOBILE CLUBS; AMERICAN
COUNCIL OF SNOWMOBILE
ASSOCIATIONS; LITTLE CATTLE
COMPANY Lll\/IITED PARTNERSHIP;
HIGHLAND LIVESTOCK AND LAND
COMPANY', and BOISE CASCADE
CORPORATION,

Plaintiffs,
vs.

ANN VENEMAN, in her official ca acity as
the Secreta of Agriculture; MIC L
DOMBEC , in his official ca acity as the
Chief Forester of the USDA orest Service',
UNITED STATES DEPARTMENT OF
AGRICULTURE; and UNITED STATES
FOREST SERVICE,

Defendants.

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Pendjng before the Court in the above entitled matter is Plaintit`f:=,’l Motions for Preliminary

Injunction. Docket No. 19, 45-2, Having reviewed all briefing submitted, as Well as other pertinent

 

1 Plaintiff`s are individually identified as the Kootenai Tribe of ldaho; Boise County, Idaho;

Valley County, Idaho; Blueribbon Coalition, lnc.; ldaho State Snowmobile Association; Illinois

Association of Snowmobile Clubs', Amen'can Council of Snowmobile Associations; Little Cattle

§ompany Lirnited Pa;rtnership; Highland Livestoek and Land Cornpany; and Boise Caseade
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documents in the Court’s file, having heard oral arguments, and having received the Government’s
status report on May 4, 2001 the Court issues the following order.2
I. STANDARD OF REVIEW

Having previously found that Plaintiffs had demonstrated a strong likelihood of success on
the merits, the Ninth Circuit requires only that Plaintiffs make a minimal showing of harm to justify
an injunction Republic of the Philippines v. Marcos, 862 F.2d 135 5, 1362 (9th Cir. 1988); _S_e_§ al_sg
Idaho Sporting Congress v. Alexander, 222 F.3d 562, 565 (9“‘ Cir. 2000) (holding that the test is a
sliding scale in Which the required degree of irreparable harm increases as the probability of success
decreases).
lI. ANALYSIS

Plaintiffs argue that the possibility of irreparable injury has been adequately demonstrated
by the Governrnent’s own admission that "the USDA [United States Department of Agr‘iculture]
shares plaintiffs’ concerns about the potential for irreparable harm in the long-term under the current
rule, [although] it Would appear unlikely that such harm will occur in the short term." Docket No.
65 at 2 (g@t_ing Docket No. 64, Status Report, at 4). Alternatively, Plaintiffs argue that the
Roadless Rule poses serious risks of irreparable harm to the National Forests and adjoining lands
because the Roadless Rule restricts active management activities that have already been planned for
certain areas and, if the Roadless Rule remains in place, will cause a chilling effect that Will
preclude local Forest Service officials from planning future management activities lrL at 3-4. The
Federal Defendants argue that the USDA’S stated commitment to address procedural concerns
associated With the Roadless Rule with notice and comment on proposed amendments should
alleviate the Plaintiffs’ asserted need for a preliminary injunction

The Court reserved putting its ruling into effect on April 20, 2001 only because the
Government committed to the Court that the report due out May 4, 2001 may affect both the process

and the substance of the rule and thereby moot the issues before the Court. This has not happened

 

2 A detailed description of the full factual and procedural background is contained in the
_Co_urt’s prior Order dated A ril 5, 2001 and will not be repeated herein except to note that the Court,
in rts Aprrl 5, 2001 Order, ound a stron likelihood of success on the merits but reserved its ruling
after oplnin that a decision as to whet er or not there had been irreparable injury Was arguably
premature. ocket No. 60 at 19.

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In fact, the Government’s vague commitment to propose amendments to address, inter alia,
identified flaws in the EIS process suggests that the requisite "hard look" was not taken when
originally preparing the EIS.3 Furthemrore, the Government’s status report does not provide any
explanation as to why the information to be obtained by virtue of the proposed amendments cannot
be obtained prior to placing the Roadless Rule into effect. ln short, the information currently
provided by the Federal Government in its status report leaves the Court with the firm impression
that, absent the implementation of the proposed amendrnents, there is a substantial possibility that
the Roadless Rule will result in irreparable harm to the National Forests.

As previously noted, Plaintiffs need only make a minimal showing of harm to justify an
injunction MM, 862 F.2d at 1362. Here, the Federal Government has conceded that without
the proposed rulemaking amending the Roadless Rule there is a potential for long-term irreparable
harm. E Docket No. 64, Status Report, at 4. In addition, Plaintiffs have shown that the Roadless
Rule poses serious risks to the National Forests and adjoining lands by restricting active
management activities that have already been planned and precluding Forest Ser'vice officials from
considering certain management techniques in planning future management activities There is
neither a "date certain" on the proposed amendments to the Roadless Rule nor any guarantee that
the proposed amendments can or will cure the defects identified by the Court and acknowledged to
exist by the Federal Governrnent. Accordingly, the Court finds that Plaintiffs have made the
minimal showing of irreparable harm and will order that the injunction issue.

III. CONCLUSION

While the Court recognizes the tremendous responsibility the USDA has in addressing the
issues before them on the Roadless Initiative, the possibility of proposed amendments at some time
in the future does not insure the public confidence that NEPA was intended to provide. A band-aid

approach to something this controversial may mask or obscure the symptoms for political purposes

 

3 g Docket No. 64, Status Report, at 2-3 statin that “States, Tribes, local communities
and this Court have voiced si nificant concerns about t e process through which the Rule was
promulgated After a review o the Rule and administrative record, the USDA shares many of` these
concerns . . . Consequently, the USDA intends to initiate an additional public process that will seek
to address the issues raised b the Court and to examine possible modifications to the Rule to
augment local partici ation w `le seeking to_ maintain the roadless area values and characteristics
whrch the current Ru e protects with restrictions on timber harvests and road building.”

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but does not address the "hard look" analysis for a cure as required by NEPA before
environmentally altering actions are put into effect.

By issuing the Preliminary injunction the Court is not precluding or even proposing that the
USDA not go forward with their study concerning the proposed amendments because the ultimate
responsibility lies with the Governrnent and/or its agencies and not with the Court. To allow the
current rule to go into effect, however, ignores the reality stated in the Court’s previous order that
once something of this magnitude is set in motion, momentum is irresistible, options are closed and
agency commitments, if not set in concrete, will be the subject of litigation for years to come.
IV. ORDER

Based on the foregoing, and being fully advised in the premises,

IT IS HEREBY ORDERED that Plaintiffs’ Motions for Preliminary Injunction (Docket
No. 19, 45-2) is GRANTED. The Forest Service is HEREBY ENJOINED from implementing
all aspects of the Roadless Area Conservation Rule, including (1) the final rule published at 66 Fed.
Reg. 3244 (January 12, 2001), and (2) that portion of the Roadless Area Conservation Rule that was
published November 9, 2000, at 65 Fed. Reg. 67,514, as part of the “National Forest System Land
Resource Management Planning: Final Rule;" and designated as 36 C.F.R. § 219.9(b)(8).

The parties are reminded that a joint Liti gation Plan must be filed in this matter on or before
June 11, 2001 and that a telephone scheduling conference has been set for June 21, 2001 at MQ
w mountain standard time, for the purpose of confirming the deadlines proposed by the parties
in the litigation Plan an to set the matter for trial.

Dated this 50 " day of May, 2001.

 

 

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